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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                   NO. 4:11CR00156-19 JLH

JOSHUA A. HAWLEY                                                                    DEFENDANT

                                            ORDER

       Pending before the Court is the government’s motion for revocation of defendant Joshua A.

Hawley’s probation. Document #661. The government has also requested that a summons be issued

for defendant.

       IT IS HEREBY ORDERED that a hearing on the government’s motion to revoke is

scheduled to begin on FRIDAY, AUGUST 2, 2013, at 10:00 a.m., in Courtroom #4-D, Richard

Sheppard Arnold United States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas, to

show cause why defendant’s probation should not be revoked.

       The request for issuance of summons is granted. The Clerk of Court is directed to issue a

summons for defendant JOSHUA A. HAWLEY and deliver to the United States Marshal for

service.

       Assistant Federal Public Defender Justin T. Eisele is hereby appointed to represent defendant

during revocation proceedings.

       IT IS SO ORDERED this 23rd day of July, 2013.



                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
